Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 1 of 44




         Exhibit A
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 2 of 44



                                                                                                                       USOO968.0941 B2


     (12) United States Patent                                                                (10) Patent No.:                     US 9,680,941 B2
            Diem                                                                              (45) Date of Patent:                              Jun. 13, 2017

     (54) LOCATION TRACKING SYSTEM                                                     (56)                             References Cited
            CONVEYING EVENT INFORMATION                                                                           U.S. PATENT DOCUMENTS
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     (71) Applicant: PerDiemCo LLC, Marshall, TX (US)                                                                     (Continued)
     (72) Inventor: Darrell Diem, Madison, AL (US)                                                        FOREIGN PATENT DOCUMENTS
     (73) Assignee: PerDiemCo LLC, Marshall, TX (US)                                   EP                          1720370 A1     11, 2006
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     (*) Notice:        Subject to any disclaimer, the term of this                                                       (Continued)
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                        U.S.C. 154(b) by 0 days.                                                                   OTHER PUBLICATIONS
     (21) Appl. No.: 14/629,347                                                        Barkhuus et al., Location-Based Services for Mobile Telephony: a
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     (22) Filed:        Feb.e Afa
                              23,9 2015                                                ACM Press, pp. 709-712, Zurich, Switzerland.
                                                                                                                          (Continued)
     (65)                 Prior Publication Data                                       Primary Examiner — Curtis King
            US 2015/O16992O A1            Jun. 18, 2015                                (74) Attorney, Agent, or Firm — Robert S. Babayi; Vector
                                                  s                                    IP Law Group
                                                                                       (57)                              ABSTRACT
                 Related U.S. Application Data                                         An improved system and method for defining an event based
     (63) Continuation of application No. 14/270.890, filed
                                                        - 0
                                                            on                         upon an object location and a user-defined Zone and man
                                                                                       aging the conveyance of object location event information
          May 6, 2014, now Pat. No. 9,003,499, which is a                              among computing devices where object location events are
                           (Continued)                                                 defined in terms of a condition based upon a relationship
                                                                                       between user-defined Zone information and object location
     (51) Int. Cl.                                                                     information. One or more location information Sources are
            G08B I/08               (2006.01)                                          associated with an object to provide the object location
            H04L 29/08              (2006.01)                                          information. One or more user-defined Zones are defined on
                            Continued                                                  a map and one or more object location events are defined.
                           (Continued)                                                 The occurrence of an object location event produces object
     (52) U.S. Cl.                                                                     location event information that is conveyed to users based
          CPC .......... H04L 67/18 (2013.01); G06K 7/10366                            on user identification codes. Accessibility to object location
                            (2013.01); G06Q 10/00 (2013.01);                           information, Zone information, and object location event
                           (Continued)                                                 information is based upon an object location information
     (58) Field of Classification Search                                               access code, a Zone information access code, and an object
          None                                                                         location event information access code, respectively.
          See application file for complete search history.                                          22 Claims, 21 Drawing Sheets

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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 3 of 44




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                                                             US 9,680,941 B2
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                                                                                                                                                     Exhibit A
                                                                                                                                                  Page 6 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 8 of 44




                                                              US 9,680,941 B2
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                                                                                                                                                          Exhibit A
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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 9 of 44




                                                                US 9,680,941 B2
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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 10 of 44




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                                                                                                                                                            Exhibit A
                                                                                                                                                         Page 9 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 11 of 44




     U.S. Patent       Jun. 13, 2017   Sheet 1 of 21   US 9,680,941 B2




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                                                                        Exhibit A
                                                                    Page 10 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 12 of 44




     U.S. Patent                              Jun. 13, 2017          Sheet 2 of 21                         US 9,680,941 B2




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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 13 of 44




     U.S. Patent            Jun. 13, 2017       Sheet 3 of 21                 US 9,680,941 B2




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          304 a       Associate location information Source with an Object        M/
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          310 a

          32 s        Convey Object location. Event information to Compting
                  W        evices Based Upon user identification Codes




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                                                                                               Exhibit A
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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 14 of 44




     U.S. Patent          Jun. 13, 2017         Sheet 4 of 21                US 9,680,941 B2




            302 a Associate user identification Codes with Computing Devices

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                       Associate location infortation Source with an Object

            42 s     Associate Object location infortation. Access Code with
                        Object location information Relating to the Object

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                    Based upon Object location information Access Code and
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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 15 of 44




     U.S. Patent               Jun. 13, 2017       Sheet S of 21              US 9,680,941 B2




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                                                                                               Exhibit A
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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 16 of 44




     U.S. Patent           Jun. 13, 2017       Sheet 6 of 21                US 9,680,941 B2




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                   with Object location Event information Relating to the
                                  Object location Event

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                  Devices Based upor. Object location Event information
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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 17 of 44




     U.S. Patent          Jun. 13, 2017           Sheet 7 of 21              US 9,680,941 B2



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                  Based upon Object Location information Access Code and
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          'N Associate a User-defined Zone information Access Code
                     with Corresponding user-defined Zone information

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                    with Object location Event information Relating to the
                                   Object Location Event

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          604      Convey Object location Event information to Computing         FG. 7
                   Devices Based upon Object location Event information




                                                                                               Exhibit A
                                                                                           Page 16 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 18 of 44




     U.S. Patent     Jun. 13, 2017              Sheet 8 of 21         US 9,680,941 B2


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                                                                                       Exhibit A
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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 19 of 44




     U.S. Patent     Jun. 13, 2017   Sheet 9 of 21        US 9,680,941 B2



                   Confiduration Screen




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                                                                           Exhibit A
                                                                       Page 18 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 20 of 44




     U.S. Patent          Jun. 13, 2017          Sheet 10 of 21   US 9,680,941 B2


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                                                                                   Exhibit A
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Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 21 of 44




     U.S. Patent     Jun. 13, 2017      Sheet 11 of 21   US 9,680,941 B2




                                     F.G. 30




                                                                          Exhibit A
                                                                      Page 20 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 22 of 44




     U.S. Patent     Jun. 13, 2017       Sheet 12 of 21   US 9,680,941 B2


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                                                                           Exhibit A
                                                                       Page 21 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 23 of 44




     U.S. Patent     Jun. 13, 2017        Sheet 13 of 21   US 9,680,941 B2




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                                                                            Exhibit A
                                                                        Page 22 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 24 of 44




     U.S. Patent     Jun. 13, 2017   Sheet 14 of 21   US 9,680,941 B2




                                F.G. 5




                                                                       Exhibit A
                                                                   Page 23 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 25 of 44




     U.S. Patent     Jun. 13, 2017      Sheet 15 of 21   US 9,680,941 B2



                      Camera Screen




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                                                                          Exhibit A
                                                                      Page 24 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 26 of 44




                                                                    Exhibit A
                                                                Page 25 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 27 of 44




     U.S. Patent          Jun. 13, 2017                                                                  Sheet 17 of 21               US 9,680,941 B2




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            code



                                                                      G. 3




                                                                                                                                                       Exhibit A
                                                                                                                                                   Page 26 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 28 of 44




     U.S. Patent     Jun. 13, 2017     Sheet 18 of 21   US 9,680,941 B2




                GPS Tracking and Zone Data                    "



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                            3::




                                     G. 2




                                                                         Exhibit A
                                                                     Page 27 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 29 of 44




     U.S. Patent     Jun. 13, 2017        Sheet 19 of 21   US 9,680,941 B2




                            Zone Creation                     7"




                                     G.




                                                                            Exhibit A
                                                                        Page 28 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 30 of 44




     U.S. Patent              Jun. 13, 2017                Sheet 20 of 21     US 9,680,941 B2




                             Zone-based logging                                20
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                                                                                               Exhibit A
                                                                                           Page 29 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 31 of 44




     U.S. Patent     Jun. 13, 2017               Sheet 21 of 21                               US 9,680,941 B2




             Picture Associated with location7"
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                                                                                                                         Exhibit A
                                                                                                                     Page 30 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 32 of 44




                                                        US 9,680,941 B2
                                  1.                                                                 2
               LOCATION TRACKING SYSTEM                               condition can relates to entry by the object into the Zone, exit
             CONVEYING EVENT INFORMATION                              by the object from the Zone, or proximity of the object to the
                BASED ON ADMINISTRATOR                                Zone Upon meeting the condition, information regarding the
                    AUTHORIZATIONS                                    event is conveyed to the at least one of the one or more users.
                                                                      The one or more users can access at least one of the location
                   FIELD OF THE INVENTION                           information, information relating to the Zone or conveyed
                                                                    information regarding the event using one or more access
        The present invention relates generally to a system and control codes. The access control codes can be configured to
     method for defining an event based on the relationship of an require multiple levels of access control.
     object location and a user-defined Zone and managing the 10 Thus, the present invention relates to a system and method
     conveyance of information related to Such object location for defining events that are correlated with the location of
     event among computing devices. More particularly, the one or more objects to one or more Zones. Hereinafter, Such
     present invention relates to defining an object location event events are referred to as object location events. The object
     based on the location of an object relative to a user-defined location events can be defined at an application level or a
     Zone and managing the conveyance of object location event 15 user level. The system and method of the invention also
     information among computing devices based on user iden conveys information relating to the object location event to
     tification codes associated with the computing devices.        one or more computing devices, which, in an exemplary
                                                                      embodiment of the invention, are associated with corre
              BACKGROUND OF THE INVENTION                             sponding identification codes of one or more users. For
                                                                      example, association of a user identification code with a
        Various sources of information are available for deter        computing device can be an embedded association (e.g.,
     mining the location of an object. Such location information hard-wired) or it can be based on a user log-in at the
     sources include Global Positioning System (GPS) receivers, computing device. In one embodiment, the object location
     radars, radio frequency identification (RFID) tags, and vari event relates to information about a location of an object and
     ety of other technologies that can be used to determine 25 information about a Zone that is defined by a user. The
     location information pertaining to an object, which might be information about the location can be derived from a loca
     moving or stationary. Such location information has been tion information source that is associated with the object.
     used to track vehicles, packages, people, etc. and to enable Under this embodiment, the object location event occurs by
     a variety of location aware applications including location satisfaction of a defined relationship or condition between
     aware toll systems, material handling and Supply chain 30 the object location information and user-defined Zone infor
     management systems, and the like. Thus far. Such location mation. Once the condition is satisfied, information corre
     aware applications have mostly involved computing devices sponding to the occurrence of the object location event is
     specifically programmed to provide location-aware func conveyed to a computing device. In one embodiment of the
     tionality in a useful but predetermined manner. For example, invention, the information is conveyed to the computing
     scanners have been used as sources of information to convey 35 device in accordance with a corresponding user identifica
     the locations of shipping containers as they progress through tion code.
     various stages en route to a destination, where the specific        In one exemplary embodiment, a user can associate a
     location of a given shipping container on a shipping dock or Source of location information with an object and define a
     in a cargo hold can be accessed at any given time via a Zone. Under this arrangement, any other authorized user that
     control system.                                               40 has access to information about location of an object and a
        Technological advancements in computing devices and user-defined Zone can also define an object location event for
     information networks, in particular wireless networks, have that Zone and receive information about occurrence of the
     enabled users of a variety of computing devices such as event. Under another arrangement, only the user who defines
     Smart phones, personal digital assistants (PDAs), laptop a user-defined Zone can define an object location event for
     computers, etc. to access and utilize information in more and 45 that Zone.
     more locations. For example, Such advances now allow                In a further embodiment, an access code is associated with
     users to wirelessly check their email or to surf the Internet information about the location of an object. Under this
     from anywhere that is covered by an appropriate data embodiment, the object location information is conveyed to
     service. Some computing devices have become equipped the computing device based upon the user identification
     with technologies that integrate various sources that provide 50 code and an access code associated with the location infor
     information about the location of the devices. For example, mation. Under another arrangement, only the user that
     known mobile devices have been equipped with GPS receiv associates a source of location information with an object
     ers, which enable the users to know where they are located can associate the access code with the object location
     at any given time.                                               information as determined by the source of location infor
       As sources that offer location information become more 55 mation.
     useful in computing devices and within information net              In yet another embodiment, an access code is associated
     works, there is a need for a system and method that              with the user-defined Zone information. Under this embodi
     correlates events with location of objects and conveys           ment, the user-defined Zone information is conveyed to at
     information about Such events to computing devices.              least one of the computing devices based upon a correspond
                                                                   60 ing user identification code and an access code for the
                SUMMARY OF THE INVENTION                              user-defined Zone information. Under another arrangement,
                                                                      only the user that defines a user-defined Zone can associate
        Briefly, the present invention relates to conveying infor the access code with the user-defined Zone information.
     mation relating to an object to one or more users. The            In still another embodiment, an access code is associated
     invention requires defining a Zone by the one or more users. 65 with information about an object location event. Under this
     An event is also defined in terms of a condition related to a   embodiment, the information about the object location event
     relationship between an object location and the Zone. The is conveyed to at least one of the computing devices based




                                                                                                                                       Exhibit A
                                                                                                                                   Page 31 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 33 of 44




                                                        US 9,680,941 B2
                                   3                                                                4
     upon a corresponding user identification code and an access         FIG.12a illustrates an exemplary Tracking Setup Screen
     code for the object location event information. Under            of the Location and Tracking software used to control the
     another arrangement, only the user that defines the object       rate at which GPS data is polled;
     location event can associate the access code with the object        FIG. 12b illustrates an exemplary Log File Selection
     location event information.                                      Screen of the Location and Tracking software used to select
                                                                      a log file for storing GPS information;
            BRIEF DESCRIPTION OF THE DRAWINGS                            FIG. 13a illustrates an exemplary Map Screen of the
                                                                      Location and Tracking software used to display a map
        The present invention is described with reference to the received from a map server;
     accompanying drawings. In the drawings, like reference 10 FIG. 13b illustrates an exemplary Data Screen of the
     numbers indicate identical or functionally similar elements.     Location and Tracking software used to manage conveyance
     Additionally, the left-most digit(s) of a reference number of tracking and Zone information to specific users based on
     identifies the drawing in which the reference number first access codes;
     appears.                                                            FIG. 13c illustrates an exemplary Zone Screen of the
                                                                   15 Location and Tracking Software used to define user-defined
        FIG. 1 illustrates an exemplary information-sharing envi Zones;
     ronment including computing devices having wired or wire            FIG. 13d illustrates an exemplary Size Screen of the
     less connectivity to the Internet and a map server, and Location           and Tracking Software used to manage the size and
     various objects for which location information sources pro other characteristics of a displayed map:
     vide object location information;                                   FIG. 13e illustrates an exemplary About Screen of the
        FIG. 2 illustrates an exemplary map retrieved from the Location and Tracking Software used to provide a notice
     map server of FIG. 1 via the Internet that includes an icon concerning Tracking Privacy Issues, Software version infor
     indicating a location of a vehicle relative to three user mation, and copyright information;
     defined Zones.                                                      FIG. 14 illustrates an exemplary Group Screen of the
        FIG. 3 illustrates a first embodiment of a method of the 25 Location and Tracking software used to manage information
     invention where object location event information is con corresponding to groups of contacts;
     veyed to computing devices based upon user identification           FIG. 15 illustrates an exemplary Contact Screen of the
     codes;                                                           Location and Tracking software used to manage information
        FIG. 4 illustrates a second embodiment of a method of the     corresponding to contacts;
     invention where object location information is conveyed to 30 FIG. 16 illustrates an exemplary Camera Screen of the
     computing devices based upon an object location informa Location and Tracking Software used to manage pictures to
     tion access code and user identification codes, and object be associated with contact location information;
     location event information is conveyed to computing                 FIG. 17 illustrates an exemplary Big Buttons Screen of
     devices based upon user identification codes;                    the Location and Tracking software used to provide easy
        FIG. 5 illustrates a third embodiment of a method of the 35 access to key application commands while walking or
     invention where user-defined Zone information is conveyed driving;
     to computing devices based upon a user-defined Zone infor           FIG. 18 illustrates an exemplary Map Viewer Web Page
     mation access code and user identification codes, and object used for displaying maps and other information conveyed by
     location event information is conveyed to computing the Location and Tracking Software;
     devices based upon user identification codes;                 40    FIG. 19 illustrates an exemplary Contact Viewer Web
        FIG. 6 illustrates a fourth embodiment of a method of the     Page used for displaying contact information conveyed by
     invention where object location event information is con the Location and Tracking Software;
     veyed to computing devices based upon an object location            FIG. 20 illustrates an exemplary web page-based display
     event information access code and user identification codes;     of a map overlaid with GPS tracking and Zone information
        FIG. 7 illustrates a fifth embodiment of a method of the 45 conveyed by the Location and Tracking software;
     invention where object location information are conveyed to         FIG. 21 illustrates an exemplary web page for creation of
     computing devices based upon an object location informa a Zone used by the Location and Tracking Software;
     tion access code and user identification codes, user-defined        FIG. 22 illustrates an exemplary map displayed on a web
     Zone information is conveyed to computing devices based page depicting logging of contact location information while
     upon a user-defined Zone information access code and user a contact is within a Zone and logging of contact location
                                                                   50
     identification codes, and object location event information is information when a contact enters or leaves a Zone; and
     conveyed to computing devices based upon an object loca             FIG. 23 illustrates an exemplary map displayed on a web
     tion event information access code and user identification       page depicting a picture associated with a location of a
     codes;                                                               COntact.
       FIG. 8 illustrates an exemplary PDA Application Launch 55
     Screen used to begin execution of a Location and Tracking                       DETAILED DESCRIPTION OF THE
     Software as implemented according to the present invention;                              INVENTION
       FIG. 9 illustrates an exemplary Main Screen of the
     Location and Tracking Software from which additional                    The present invention will now be described more fully in
     screens are accessed;                                           60   detail with reference to the accompanying drawings, in
        FIG. 10 illustrates an exemplary Configuration Screen of          which the preferred embodiments of the invention are
     the Location and Tracking software used to manage infor shown. This invention should not, however, be construed as
     mation corresponding to the user of the PDA:                   limited to the embodiments set forth herein; rather, they are
        FIG. 11 illustrates an exemplary GPS Screen of the provided so that this disclosure will be thorough and com
     Location and Tracking software used to manage a GPS plete and will fully convey the scope of the invention to
                                                                 65
     receiver that is associated with a user's PDA via a Bluetooth        those skilled in the art. Like numbers refer to like elements
     connection;                                                          throughout.




                                                                                                                                        Exhibit A
                                                                                                                                    Page 32 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 34 of 44




                                                         US 9,680,941 B2
                                    5                                                                6
        The present invention provides a system and method for information-sharing environment that includes company
     defining an event that relates to a location of an object and employees, affiliates, Board members, guests, etc. A division
     managing the conveyance of related information among within a company may set up its own information-sharing
     computing devices associated with corresponding user iden environment, and so on. A family can set up its own
     tification codes. In accordance with the present invention, an 5 information-sharing environment and an individual may set
     information-sharing environment consists of a computing up his or her own information-sharing environment. As
     network including a map server and computing devices.            Such, each information-sharing environment can be admin
     Objects associated with sources of location information istered so as to manage conveyance of information among
     provide object location information comprising one or more computing devices based on user identification codes. Man
     coordinates. In an exemplary embodiment, the coordinates 10 agement of users, groups, domains, and publicly available
     correspond to one or more determined locations of the object location information Sources is described in greater
     objects within an established coordinate system. In the detail below.
     system and method of the present invention, an object can           Referring to FIG. 1, information-sharing environment 100
     comprise any device, thing, person or entity that can be includes computing network 102 having wired and wireless
     located or tracked. A user of a computing device can retrieve 15 network links 104,106 and connectivity to the Internet 108
     a map, for example, from a map server and define a that provides access to a map server 110 and map informa
     user-defined Zone on the map. According to one aspect of the tion 112. Also shown are objects associated with sources that
     invention, an object location event is defined based on a provide object location information. Location information
     relationship between one or more object locations and one or Sources are shown including Global Positioning System
     more user-defined Zones, where the occurrence of the object (GPS) satellites 114a and GPS receivers 114b. Examples of
     location event is determined when a condition associated         various types of computing devices are shown interfacing
     with the relationship is satisfied. Thus, an occurrence of the with the computing network 102 including a PDA 116a,
     object location event is determined based on object location PDA having a GPS receiver 116b, a wireless smart phone
     information and user-defined Zone information. In other          118a, a wireless smartphone having a GPS receiver 118b, a
     words, an object location event is determined based on the 25 laptop computer 120a, a laptop computer having a GPS
     location of an object relative to a user-defined Zone. More receiver 120b, a personal computer 122a, a personal com
     generally, an object location event may be determined based puter having a GPS receiver 122b, and a digital television
     on the location(s) of one or more objects relative to one or 124. Typically, one or more of the computing devices could
     more user-defined Zones. Upon occurrence of the object be used as a control station. FIG. 1 also illustrates various
     location event, object location event information is con 30 examples of objects (e.g., devices, things, people, vehicles,
     veyed to at least one computing device based upon a animals, etc.) that can be associated with location informa
     corresponding user identification code(s) associated with the tion sources enabling object location information to be
     computing device(s).                                             conveyed to computing devices. Examples of Such objects
        The present invention can be implemented in a variety of depicted in FIG. 1 include a fireman 126a, semi truck 126b,
     information-sharing environments. The sharing of informa 35 crate 126c, car 126d, cow 126e, woman 126f soldier 126g,
     tion may be managed among a small number of users such child 126h, dog 126i, and a building 126j. Generally, any
     as a family or group of friends, or among a very large object can be associated with a location information Source
     number of users such as among employees of very large in accordance with the present invention including the
     business, or among a worldwide user base Such as a might computing devices themselves. Such objects may be out
     be provided via an Internet service. Furthermore, informa 40 doors or indoors and may be included within another object
     tion-sharing environments may involve information-sharing such as, for example, a crate 126c within a semi truck 126b.
     environments within information-sharing environments.            Such objects may be mobile or fixed. At any given time,
     That is, one or more Smaller information-sharing environ mobile objects may be moving or stationary. An object may
     ments may overlap or coexist independent of each other located in any place, or be any thing. Examples of a place,
     within one or more larger information-sharing environ 45 or thing, in accordance with the invention include a restau
     mentS.                                                           rant, gas station, destination, airport, hospital, first aid sta
        In one embodiment, one or more administrators may be tion, hazardous location, vehicle repair shop, shopping mall,
     given privileges to configure the information-sharing envi museum, park, residence, business, train station, bus station,
     ronment. Such configuration could include specifying autho post office, bank, police station, first station, department
     rized users of the environment and their access privileges, 50 store, or storage bin.
     etc. Such configuration can also define groups of users as          Although FIG. 1 depicts a wireless network tower to
     part of an established organizational structure associated represent wireless connectivity, any of various well known
     with the information-sharing environment. Pre-defined forms of networking technologies such as WI-FI, Wireless
     Zones comprising domains can be configured along with USB, cellular, Bluetooth, optical wireless, etc. can be used
     events that define relationships between object locations 55 alone or in combination to provide the wired and/or wireless
     relative to such domains. Moreover, sources of publicly connectivity among the computing devices. Furthermore,
     available object location information, such as weather track any of various other location information sources can be
     ing systems; can also be configured for use with the system used in place of or in combination with GPS to provide
     and method of the present invention. Because smaller infor object location information. Alternative location informa
     mation-sharing environments can exist within larger infor 60 tion sources include cellular network based wide area loca
     mation-sharing information environments, various levels of tion systems, infrared-based location systems, ultrasound
     administrator privileges can exist. For example, an Internet based location systems, video Surveillance location systems,
     service based on the present invention can be provided and RF signal-based location systems such as WLAN-based
     administered Such that anyone having access to the Internet location systems, ultra wideband location systems, and near
     can purchase the service and be an authorized user. A 65 field electromagnetic ranging location systems. GPS sys
     purchaser of the service can set up a company-wide infor tems may be augmented using space based augmentation
     mation-sharing environment within the larger world-wide systems (SBAS) and/or local area augmentation systems




                                                                                                                                       Exhibit A
                                                                                                                                   Page 33 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 35 of 44




                                                         US 9,680,941 B2
                               7                                                                  8
     (LAAS), radar-based information sources, and a data file.        are compared to those included in the access code whereby
     GPS systems can be outdoor GPS sources or indoor GPS             a match would indicate the user is authorized to receive the
     sources. Alternatives to GPS also include GLONASS and           information. As such, the information is conveyed to those
     Galileo. Generally, any form of location information system     computing devices that are associated with the users having
     can be used that can provide a coordinate of an object          access to the information as specified by the access code.
     allowing an icon indicating the object location to be depicted     Under another arrangement, an access code is assigned to
     On a map.                                                       information in the form of a user-defined access code (i.e.,
        In accordance with the present invention, the users of the a password) that a given user must have knowledge of in
     computing devices each have user identification codes that order to be granted access to the information. With this
     can be associated with the computing devices in order to 10 approach, the user associating the access code with infor
     manage the conveyance of information to the computing mation defines the user-defined access code and then con
     devices based upon the identify of the user and information veys the user-defined access code to other trusted users to
     access privileges. Such user identification codes may be which the user desires to have access to the information.
     managed by a control station or may be established based on Those trusted users must enter the access code into their
     user unique user information. Such codes would typically 15 computing devices in order to be granted access to the
     include an identifier (e.g., a user account name or user information.
     number) and can be associated with one or more groups, and         Under still another arrangement, an access code specifies
     one or more information access privilege classifications, etc. the individual users or groups having access to the infor
     For example, a given user may be included in a group mation to which the access code is associated provided a
     indicating members of a family, a company, a club, or an given user knows the password. As such, the access code
     association. Similarly, employees of a company may belong may specify one or more users and/or one or more groups
     to one or more defined groups within the company (e.g., that can enter the appropriate password in order to access the
     Management, Engineering. Accounting, etc.). Membership information. With this approach there are two conditions that
     within a group may indicate the user can have access to must be met to gain access, being included on the access list
     confidential information Such as company proprietary infor 25 and having knowledge of the password allowing access to
     mation or classified information Such as the coordinates of     information to be managed by changing the access list
     military assets on a battlefield. Access to confidential infor and/or changing the password.
     mation may also be based on an access privilege classifica         Under yet another arrangement, an access code may
     tion, Such as a security clearance level. In accordance with include a clearance classification code Such as Proprietary,
     the invention, a user's access privileges can change by 30 Confidential, Secret, Top Secret, etc. These access codes
     entering or leaving a domain, for example, the premises of may also specify individual users or groups and may be used
     a shopping mall, a particular store within a shopping mall, with passwords. For example, employees of a company
     a museum, a restaurant, an airport, etc. The use of domains having at least a Secret clearance classification that know the
     in accordance with the present invention is described in password are provided access to certain information. Gen
     greater detail below. Furthermore, user identification codes 35 erally, many different variations of access code approaches
     are typically associated with other user information Such as can be used to practice the present invention.
     the user name, title, address information, email address,          FIG. 2 illustrates an exemplary map 200 retrieved via the
     phone numbers, etc. As such, user identification codes can Internet from a map service provider, such as YAHOO!,
     be associated with computing devices and used to manage displayed on a PDA or other computing device. Any map
     the conveyance of information among the computing 40 available from any of various map providers via the Internet
     devices. Association of a given user identification code with can be used in accordance with the present invention.
     a given computing device may be via a user login process Referring to FIG. 2, map 200 depicts an area including a
     whereby a user enters a user account name and password. portion of Huntsville, Ala. alongside part of Redstone Arse
     Certain computing devices (e.g., a PDA or Smartphone) may nal, Alabama. Shown on the map is an icon 202 that
     allow a user identification code to be embedded or pro 45 indicates the location of a car equipped or somehow asso
     grammed into a computing device's memory Such that any ciated with a source of location information, such as GPS.
     user of the computing device is considered to be the user The location information source determines the location of
     owning the device.                                              the car and conveys the object location information to the
        In accordance with the present invention, access codes computing environment to which the computing device
     can be associated with information to manage the convey 50 displaying the map is interfaced. Most location information
     ance of the information to computing devices. Specifically,     Sources include communications capabilities enabling them
     an object location information access code can be associated to convey object location information. Also shown in FIG.
     with object location information. A user-defined Zone infor 2 are three user-defined Zones 204, 206, and 208. Such
     mation access code can be associated with user-defined Zone     user-defined Zones can be defined using various graphical
     information and/or an object location event information 55 techniques such as selecting a point and dragging to another
     access code can be associated with object location event point causing a rectangular shaped Zone (like 208) to be
     information. These access codes can be used in various          defined. Alternatively, a point can be selected indicating the
     ways. In one arrangement, an access code specifies the center of a circular Zone and a dragging action made to
     individual users and/or groups of users having access to the define a range of the circular Zone (like 206). Various other
     information to which the access code is associated. Such an 60 common drawing techniques such as free form drawing can
     access code would typically include specific user identifi be used to define a Zone not having a basic shape (like 204).
     cation codes and/or group codes. For example, by a user Furthermore, non drawing techniques can be employed to
     logging into a computing device, a given user identification define a user-defined Zone including use of coordinates
     code is associated with the computing device. The user stored in a database. For example, the perimeter coordinates
     identification code may also be associated with one or more 65 of a surveyed property that are stored in a database could be
     groups having corresponding group identification codes.         automatically used to define a user-defined Zone in accor
     The user identification code and group identification code(s) dance with the invention.




                                                                                                                                    Exhibit A
                                                                                                                                Page 34 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 36 of 44




                                                        US 9,680,941 B2
                                                                                                     10
        In accordance with the present invention, one or more indicating the location of the car as it travels between the
     object location events can be defined relating a given user-defined Zones or to home. The emails received based on
     user-defined Zone to the location of a given object or objects. the defined events provide a record of the daughter's enter
     Occurrence of an object location event can result in gener ing and leaving the three user-defined Zones and can be used
     ating relevant information (i.e., object location event infor to indicate characteristics of movement including the speed
     mation) or performing a function (i.e., object location event of a vehicle.
     function). The object location event function can include           FIG. 3 illustrates a first embodiment of a method of the
     generating a time/date stamp, send an email, place a call, invention where object location event information is con
     Sound an alarm, etc. Thus, an object location event in veyed to computing devices based upon user identification
     accordance with the invention can require the performance 10 codes. Referring to FIG. 3, a first embodiment of a method
     or control of a function based on an object location relative 300 of the invention consists of six steps 302-312. The first
     to a user-defined Zone. An object location event can, for step 302 is to associate user identification codes with com
     example, be defined to occur when a specific object or any puting devices. The association can be an embedded asso
     one or more objects enter, leave, or are within a defined ciation, for example, programming the user identification
     proximity of a user-defined Zone. An object location event 15 code in the memory of the computing device, or it can be
     may also be defined to occur periodically as long as an accomplished via a log-in process at the computing devices
     object is outside a user-defined Zone or inside a user-defined using the user identification codes. The second step 304 is to
     Zone. Alternatively, an object location event may be defined associate a location information source with an object. Such
     to occur when the location of an object is determined to be association may involve equipping or attaching the object
     within a given proximity of a user-defined Zone, for with or to the source of location information. A third step
     example, within 500 feet of a user-defined Zone correspond 306 is to define a Zone. The Zone can be defined by a user
     ing to the grounds of a school, a shopping mall, a building,     at any time. A fourth step 308 defines an object location
     an army base, etc. An event may also be defined to occur event in terms of a relationship between information relating
     when one or more objects or specific objects have entered or to the object location and user-defined Zone. The fifth step
     exited one or user-defined Zones or specific user-defined 25 310 is to determine an occurrence of the object location
     ZOS.                                                             event for example by detecting entry into, exit from or
        Referring again to FIG. 2, an example scenario is proximity with the user-defined Zone. A sixth step 312 is to
     described relating the location of the vehicle 202 to the three convey object location event information to computing
     user-defined Zones 204, 206, and 208. The exemplary sce devices based upon the user identification codes, for
     nario involves a mother desiring to track the location of a 30 example, by sending an e-mail. The step 312 can also
     teenage daughter while she drives the vehicle 202. The involve performing a function Such as generating an alarm.
     vehicle 202 is equipped with a location information source          In accordance with one embodiment of the invention, any
     (e.g., a GPS receiver) and is configured to transmit the user can associate a source of location information with an
     location of the car at Some data rate (e.g., transmits location object, define a user-defined Zone, and define an object
     every 5 seconds) when the car is powered on (i.e., car key 35 location event. As such, in relation to the example scenario
     is in the on position). The mother sets an object location of FIG. 2, steps 304-308 of method 300 are used by the user
     information access code such that only the mother, specifi (i.e., a mother) to associate a GPS device with her daughter's
     cally, a PDA or other computing device used by the mother, vehicle and define three user-defined Zones corresponding to
     has authorized access to the object location information of the ballpark parking lot, restaurant, and university library.
     the vehicle 202. The mother and daughter discuss her 40 The user can also define object location events in terms of
     scheduled activity for the day and the corresponding travel conditions that relate to entering into, leaving from or being
     among different places the daughter plans to go. According in the proximity of the three user-defined Zones. As stated
     to the daughter's schedule, the daughter is to attend a above, upon the occurrence of the object location events,
     softball game at a local ballpark, have lunch with friends at information can be conveyed to the mother's computing
     a local restaurant, and then go to a library on the campus of 45 device via emails. Occurrence of event can also result in
     a local university to do research for a paper.                   performance of certain functions, e.g., causing the mother's
        After discussing the daughter's plans for the day, the PDA to beep.
     mother, using a PDA, retrieves a map and defines the three          In addition to or alternatively to the event information,
     user-defined Zones relating to three locations the daughter is object location and/or Zone information can be conveyed to
     Supposed to be at during the day. Specifically, the mother 50 the computing devices based on user identification codes,
     creates the three user-defined Zones 204, 206, 208 corre         which comprise a first level of access control. The convey
     sponding to the ballpark parking lot, restaurant, and univer ance of any one or combination of the foregoing informa
     sity library, respectively, and defines object location events tion, i.e., location, Zone and/or event, can be to the same
     for each user-defined Zone. For each of the three user           users or groups or different users or groups. A second, third,
     defined Zones 204, 206, and 208, the mother defines an 55 or additional layers of access control can also be applied to
     object location event where the mother will receive an email any one or combination of the location, Zone and/or event
     indicating the occurrence and time of the object location information using corresponding access codes as further
     events, which correspond to when her daughter's car enters described below.
     or leaves any of the three user-defined Zones. The mother           Referring to FIG. 4, another embodiment of a method 400
     defines each of the three leaving user-defined Zone object 60 of the invention consists of six steps 302-312 of the first
     location events such that when they occur they cause her method 300 along with two additional steps 402, 404. As
     PDA to make a sound (e.g., beep). The user-defined Zones with the first method 300, the first two steps 302, 304 of
     and defined object location events allow the mother to know      method 400 associate user identification codes with com
     when the daughter has safely arrived at the three places the puting devices and associate a source of location informa
     daughter is to go that day. Furthermore, when the PDA 65 tion with an object. With method 400, however, the added
     beeps, the mother knows the daughter is in transit and can two steps 402, 404 associate an access code with the object
     view the displayed map on the PDA to watch the icon location information and convey the object location infor




                                                                                                                                     Exhibit A
                                                                                                                                 Page 35 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 37 of 44




                                                         US 9,680,941 B2
                                  11                                                               12
     mation to computing devices based upon the access code of        allowing both parents to see the icon indicating the position
     the object location information and user identification codes.   of the daughter's car in relation to the three user-defined
     The final four steps 306–312 of method 400 are the same as       Zones. In an alternative embodiment, any user having access
     those of method 300, including conveying object location         to the user-defined Zone information is enabled to define an
     event information to computing devices based upon user        object location event relating object location information to
     identification codes.                                         the user-defined Zone information. Thus, under one arrange
        Thus, FIG. 4 illustrates an embodiment where the object ment, only the user who defines a user-defined Zone can
     location information can be accessed by those users that define an object location event relating to the user-defined
     have knowledge of the access code of the object location Zone, while under another arrangement, any user(s) having
     information. Under this embodiment, the user can give the 10 access to user-defined Zone information can define an object
     access code to other trusted users for accessing the location location event relating to the corresponding user-defined
     information. Those having the knowledge of access code for ZO.
     the location information may or may not have access to other     FIG. 6 illustrates a fourth embodiment of a method of the
     information Such as the Zone or event. Alternatively, users invention where object location event information is con
     may be granted access to the object location information 15 veyed to computing devices based upon an object location
     based on the access code without having knowledge of the event information access code and user identification codes.
     access code.                                                  Referring to FIG. 6, a fourth embodiment of a method 600
        In accordance with another exemplary embodiment, any of the invention consists of five steps 302-310 of the first
     one user can associate a location information source with an  method 300 along with two additional steps 602, 604. As
     object, define a user-defined Zone, and define an object with the first method 300, the first four steps 302,304,306,
     location event. The user that associates a location informa      308 of method 600 associate user identification codes with
     tion source with an object can also associate an access code computing devices, associate a location information Source
     with the object location information provided by the source. with an object, define a user-defined Zone, and define an
     As such, in relation to the example scenario of FIG. 2, the object location event in terms of a relationship between
     mother can facilitate the conveyance of the object location 25 object location information and user-defined Zone informa
     information to another trusted user, who has knowledge of tion. With method 600, however, step five 602 associates an
     the access code, such as the father of the daughter. The object location event information access code with the
     mother may or may not allow conveyance of the Zone or object location event information relating to the object
     event information to the father. Alternatively, a user may be location event. After step six 310 determines the occurrence
     granted access to the object location information based on 30 of an object location event, step seven 604 conveys object
     the object location information access code without having location event information to the computing devices based
     knowledge of the access code.                                  upon an access code for the object location event informa
        Referring to FIG. 5, a third embodiment of a method 500 tion and user identification codes. Thus, by using the object
     of the invention consists of six steps 302-312 of the first location event information access code, the mother could
     method 300 along with two additional steps 502, 504. As 35 enable both parents to receive the object location event
     with the first method 300, the first three steps 302,304,306 information corresponding to the object location events
     of method 500 are to associate user identification codes with  defined by the mother. In other words, both parents could
     computing devices, to associate a location information receive emails indicating when the daughter entered or
     Source with an object, and to define a user-defined Zone.      exited  one of the three user-defined Zones. In accordance
     With method 500, however, the added two steps 502, 504 40 with a preferred embodiment of the invention, the user that
     also associate an access code with the user-defined Zone       defines object location events can also associate access code
     information. As a result, Zone information can be conveyed for information that correspond to object location events. By
     to the computing devices based upon the access code for the also associating object location event information access
     user-defined Zone information and user identification codes.   codes with the defined object location events, the mother can
     The final three steps 308-312 of method 500 are the same as 45 enable the object location event information to be conveyed
     those of method 300, including conveying object location to another user with knowledge of Such access code. Such as
     event information to computing devices based upon user the father of the daughter. Thus, with the method 600 in
     identification codes. The event information under this         relation to the example of FIG. 2, the father would receive
     embodiment however may or may be conveyed to those the object location event information but may or may not
     users with knowledge of the user-defined Zone information 50 receive object location information or user-defined Zone
     access code. As such, in relation to the example scenario of information.
     FIG. 2, the method 500 enables the user (i.e., the mother) to     In an alternative arrangement, steps 502 and 504 of
     associate a GPS device with her daughter's vehicle, to define method 500 could also be used with method 600 whereby a
     three user-defined Zones, and to define object location events user (e.g., the mother) also associates an access code with
     associated with the three user-defined Zones causing, upon 55 the user-defined Zone information for conveyance to another
     the occurrence of the object location events, emails to the user with knowledge of Such access code (e.g., the father).
     sent to the mother and her PDA to beep. By also associating Under Such an alternative arrangement, the object location
     user-defined Zone information access codes with the three      event can be defined by any user(s) having access to the
     defined user-defined Zones, the mother also enables the        user-defined Zone information or only the user that defined
     user-defined Zone information to be conveyed to another 60 the user-defined Zone. In either case, only the user that
     user with knowledge of the access code. Such as the father defines an object location event can associate an object
     of the daughter.                                               location event information access code with object location
        In a further embodiment, steps 402 and 404 of method event information corresponding to the object location
     400 could also be used with method 500, whereby the user event.
     (i.e., the mother) also associates an object location access 65 FIG. 7 illustrates a fifth embodiment of a method of the
     code with the object location information such that both the invention where object location information is conveyed to
     mother and father receive the object location information computing devices based upon an object location informa




                                                                                                                                    Exhibit A
                                                                                                                                Page 36 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 38 of 44




                                                       US 9,680,941 B2
                                 13                                                                14
     tion access code and user identification codes, user-defined     more coordinate systems can be established by an adminis
     Zone information is conveyed to computing devices based trator to describe object locations within an information
     upon a user-defined Zone information access code and user sharing environment. The coordinate system may be estab
     identification codes, and object location event information is lished to accommodate the coordinate system used by any
     conveyed to computing devices based upon an object loca Suitable map service. A typical coordinate system is known
     tion event information access code and user identification       as the latitude, longitude, and height system. Alternative
     codes. Referring to FIG. 7, in the method 700, the steps of coordinate systems include the Earth Centered, Earth Fixed
     method 600 are again used with the addition of the two steps Cartesian (ECEF X-Y-Z) coordinate system, Universal
     402, 404 of method 400 and the two steps 502, 504 of Transverse Mercator (UTM) coordinate system, Military
     method 500. With these additional four steps, when referring 10 Grid Reference System (MGRS), World Geographic Refer
     to the example of FIG. 2, the mother could associate object ence System (GEOREF), Universal Polar Stereographic
     location information access codes and user-defined Zone          projection (UPS), national grid systems, state plane coordi
     information access codes with object location information nates, public land rectangular Surveys, metes and bounds,
     and user-defined Zone information, respectively, in Such a etc. A coordinate system may also be established corre
     way as to allow both parents to receive emails, beeps, and 15 sponding to a domain, for example, an office building or a
     view the movement of the daughter's car using their respec       shopping mall. Additionally, one or more users may define
     tive PDAs.                                                       a coordinate system for example, making the location of a
        In accordance with the present invention, an administrator user's home or business or a user's own location the (0,0)
     of an information-sharing environment maintains a database reference point within an X-Y coordinate system. As such,
     of user information for those having access to the informa computing devices used in accordance with the invention
     tion-sharing environment. Such a database can be main may include means for translating between coordinate sys
     tained on a central or distributed control station that may be tems. Coordinate systems may be based upon the location
     a company’s computer server or on an individual’s personal information source(s) used. For example, a GPS receiver
     computer. Information maintained for a user typically location information source may be placed at a location, for
     includes a user account name and password and a user 25 example the entry door of a building, and its GPS location
     identification code, and may include a variety of information in latitude and longitude and height used as a (0,0,0)
     about the user including the user's name, address, phone reference point for a coordinate system used inside the
     number(s), email address(s), company name, title, birth date, building along with a second location information Source
     etc. A user may be given access privileges to certain classes    such as UWB system better suited for indoor operation. As
     of information based on the user's position or role within a 30 Such, one or more coordinate systems established by an
     company or family, a Government security clearance, and/or administrator or by a user of an information-sharing envi
     for other reasons deemed appropriate for a given informa ronment can be used to provide object location information.
     tion-sharing environment.                                           In accordance with the present invention, when a user
        An administrator can define one or more groups to which associates multiple location information Sources with an
     a given user can be associated. Groups may be defined in 35 object, the user can determine whether or how the object
     accordance with an organizational structure or hierarchy. For location information is used (e.g., combined). In particular,
     example, an administrator for an information-sharing envi the user can determine how handoffs are to occur between
     ronment corresponding to a company may define groups for location information sources Such as Switching among avail
     the various organizations within the company, Such as legal, able GPS satellites based on received signal strength or
     accounting, shipping, etc., and for groups of users not based 40 switching between a GPS and UWB system when a user
     on organization, such as executive, management, adminis goes indoors, which might be based on loss or degradation
     trative, exempt employees, non-exempt employees, etc. of a GPS signal. Handoff among location information
     After a group has been defined, the administrator can Sources can be based upon object location information.
     associate individual users with one or more of the defined          In accordance with the present invention, a user that
     groups. Similarly, a parent administering an information 45 associates an information location source with an object can
     sharing environment might define groups such as parents, determine how often object location information is updated.
     teenagers, children, drivers, and so forth. Information main Under one arrangement, the user can determine the rate at
     tained for a group typically includes a group name and group which object location information is provided. Under
     identification code, and may include a variety of information another arrangement, object location information may be
     about the group including the group's address, phone num 50 provided by the location information source at a certain rate
     ber, email address, website, point-of-contact, etc. As such, a which the user may select as the appropriate update rate or
     user may be associated with one or more groups defined by the user may select to update object location information
     an administrator of an information-sharing environment.          less often or to only maintain (or use) the current object
        In accordance with the present invention, any user can location information. Depending on whether object location
     define a group, for example, a group of friends, a study 55 information is being logged (i.e., stored) and/or conveyed to
     group, etc. Information for Such user-defined groups may be other users, decisions concerning the update rate typically
     maintained in a central database or may be maintained on an involve a tradeoff of available storage capabilities (e.g., in
     individual user's computer. As such, knowledge of the memory, to a physical storage media, etc.) versus granularity
     defined group my be available to other users of an informa of stored object location information and resulting accuracy
     tion-sharing environment or may be maintained solely for an 60 of its display on a map. For example, object location
     individual user's benefit.                                       information stored in a log file once every 5 seconds would
        In accordance with the present invention, one or more allow a more accurate display of the movement of a vehicle
     location information sources can be associated with an           than object location information stored once per minute, but
     object to provide object location information consisting of a the once per 5 second update rate requires twelve times the
     one or more coordinates corresponding to one or more storage space compared to the space required to store object
                                                                   65
     determined locations of the object within an established location information once per minute. When only maintain
     coordinate system. In accordance with the invention, one or ing the current object location information, the same




                                                                                                                                   Exhibit A
                                                                                                                               Page 37 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 39 of 44




                                                        US 9,680,941 B2
                                    15                                                             16
     memory/storage location can be repeatedly rewritten. The mall. A map may correspond to a battlefield. As such, map
     selected update rate also determines how often the object information corresponding to a given electronic map would
     location information can be conveyed to users. The user can be accessible to the computing devices of the information
     also determine whether a time stamp is associated with each sharing environment receiving object location information,
     update to indicate the actual time that an object was at a Zone information, and/or object location event information
     given location.                                                 that is to be displayed on the map. However, certain types of
        As previously described, the user that associates an infor devices may be included in the information sharing envi
     mation location Source with an object can also associate an ronment that do not have the ability to receive or display a
     object location information access code with the object map but that can receive useful object location information,
     location information provided by the information Source and 10 Zone information, and/or object location event information,
     can thereby manage the conveying of the object location nonetheless. For example, an expecting woman might define
     information to one or more users. AS generally described a Zone around her hospital and an object location event
     above, an object location information access code can causing her Blackberry to call her sister's cellular telephone
     specify individual users or groups allowed access to the when her car enters the Zone telling her that she has safely
     object location information, may specify a password a user 15 arrived at the hospital to deliver her baby.
     must know to receive access to the object location informa         Various commonly used map display management tech
     tion, and/or may include a clearance classification code. As niques can be employed in accordance with the present
     Such, the object location information access code determines invention. For instance, an automatic Zoom level selection
     which user(s) are conveyed the object location information.     scheme may be established where the Zoom level defaults to
        In accordance with the present invention, a user that the closest in level that can display all user-defined Zones.
     associates an information location source with an object can An automatic centering approach might set the center of the
     determine whether to store object location information in a map to correspond to the location of a given object such as
     log file, which can be played back. The storage of object the current location of a user or to the average location of
     location information to a log file may be the result of the multiple objects. Icons can be set to flash to indicate
     occurrence of a defined object location event. For example, 25 movement or non-movement of an object. Colors of lines or
     a user could define two Zones, a first object location event areas indicating a Zone may change when an object has
     that starts logging object location information when an entered or exited the Zone. Such map display management
     object exits the first Zone, and a second object location event techniques may be controllable by an administrator and/or
     that ends the logging of object location information when by individual users. In accordance with the present inven
     the object enters the second Zone, thereby allowing the 30 tion, a user can define a user-defined Zone on a map that can
     movement of the object between the two Zones to be then be used to define an object location event relating object
     reviewed at a later time. Alternatively, object location infor location information to user-defined Zone information. A
     mation may be provided by a simulation. For example, user-defined Zone can be defined graphically using various
     military officers could define battle plans based upon move techniques such as selecting a point and then dragging to
     ment of personnel and equipment having location informa 35 another point to define either a rectangular shaped Zone or a
     tion sources into and out of defined Zones and corresponding circular Zone, drawing a Zone by freehand to create a Zone
     object location events. For training purposes, the movement having an oddly shaped boundary, etc. As such, a user
     of personnel and equipment could be produced by a simu defined Zone has a boundary that can be specified in accor
     lation that inputs the object location information into the dance with an established coordinate system. Typically
     information sharing environment allowing the military offi 40 user-defined Zone information maintained for a user-defined
     cers to react by changing plans, defining new Zones, new Zone includes a Zone identification code and its boundary
     object location events, etc. Furthermore, object location coordinates and may include a Zone name, a Zone security
     information may by provided by emergency information level, a Zone danger level, etc. Generally, a user that defines
     Sources, which might indicate the location of a fire, flood, a Zone can associate Zone information with the Zone that can
     earthquake, bridge out, etc. or by weather information 45 be conveyed to other users.
     Sources, which might indicate the location of a severe             As stated above, a user that defines a Zone can also
     thunderstorm, tornado, winter Storm, hurricane, etc.              associate a Zone information access code with the user
        In accordance with the present invention, object location defined Zone information corresponding to the user-defined
     information and Zone information is displayed on a map Zone and can thereby manage the conveying of the user
     received from a map information source. In the example 50 defined Zone information to one or more users. As generally
     described previously in relation to FIG. 2, a map from an described above, a user-defined Zone information access
     Internet map service was used that shows the streets of the code can specify individual users or groups allowed access
     city of Huntsville, Ala. at an appropriate scale for illustrating to the user-defined Zone information, may specify a pass
     the movement of the daughter among three locations in the word a user must know to receive access to the user-defined
     city. Under one scenario, a user could Zoom in or out from 55 Zone information, and/or may include a clearance classifi
     a street scale to a world Scale. Generally, any electronic map cation code. As such, the user-defined Zone information
     can be used in accordance with the present invention as access code determines which user(s) are conveyed the
     appropriate to meet the informational requirements of the user-defined Zone information.
     users involved. Furthermore, multiple maps can be used               In accordance with the present invention, a user can define
     allowing different levels of scale as appropriate for the 60 an object location event relating object location information
     requirements of the user(s) involved in the sharing of to user-defined Zone information. An object location event
     information. A world map might be used, for example, that may be something that is to occur whenever a specific object
     enables the locations of ships traveling to and from user enters and/or leaves a specific user-defined Zone or an object
     defined Zones associated with various ports around the world location event may be something that is to occur whenever
     to be displayed. A map of an amusement park might be used 65 an object is or is not within a specified proximity of a
     by a family visiting the park. A map may correspond to the user-defined Zone. Under one aspect the invention, the
     inside of a building Such as an office building or a shopping occurrence of an object location event results in the con




                                                                                                                                      Exhibit A
                                                                                                                                  Page 38 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 40 of 44




                                                        US 9,680,941 B2
                                   17                                                               18
     veyance of object location event information which includes mall. The girls decide to split up and meet later at their
     object location information and user-defined Zone informa favorite hangout spot within the mall, which is a sitting area
     tion. Typically object location event information maintained near an escalator. One of them defines a user-defined Zone on
     for a defined object location event includes an object loca the mall's map corresponding to the sitting area and an
     tion event identification code and may include an object object location event whereby the Smartphones are sent an
     location event name, a time stamp, an object location event email and caused to beep when any of the girls enters the
     security level, an object location event danger level, etc.      sitting area.
     Generally, a user that defines an object location event can         They then split up to do some shopping. As they walk
     associate object location event information with the object about the mall, they walk near kiosks that recognize their
     location event that can be conveyed to other users. Under 10 presence within predefined areas within the mall (via the
     another aspect of the invention, the occurrence of an object Smartphones) and the kiosks provide personalized specials
     location event results in performance of a function, includ      such as, “Cindy. Your favorite pre-washed jeans are 30%
     ing the control of a device such as a camera, motion sensor,     off. When one of the girls finishes shopping and goes to the
     garage door, web cam, lighting device, etc.                      sitting area, the other two girls are automatically emailed
        In accordance with the present invention, a user that 15 and their phones beep so that they know to go meet their
     defines an object location event can also associate an object friend at the sitting area. With this example, the user-defined
     location event information access code with the object Zone (i.e., the sitting area) and the object location event (i.e.,
     location event information corresponding to the object loca the emails/beeps) were not predefined as were the person
     tion event and can thereby manage the conveying of the alized specials provided by the kiosks as the girls walked
     object location event information to one or more users. As into predefined Zones.
     generally described above, an object location event infor           Thus, a key distinction between the user-defined Zones of
     mation access code can specify individual users or groups the present invention and predefined Zones of previous
     allowed access to the object location event information, may location-aware applications is that the occurrence of object
     specify a password a user must know to receive access to the location events and the management of the conveyance of
     object location event information, and/or may include a 25 object location event information is determined by the user
     clearance classification code. As such, the object location of the computing device and not by someone else. Take for
     event information access code determines which user(s) are example, a traveling salesman who wants to make his day
     conveyed the object location event information.                  more efficient. In accordance with the present invention,
        An important distinction exists between the user-defined prior to Venturing out on the road, the salesman determines
     Zones and object location events of the present invention, 30 the nine sales calls he intends to make for the day and defines
     and predefined Zones (or domains) and predefined object a user-defined Zone about each sales call location. For each
     location events that have previously been used in location user-defined Zone he defines object location events related to
     aware applications. Predefined Zones are used to provide the location of his car and each Zone. The time he enters or
     location-aware functionality in a useful but predetermined leaves each Zone is to be recorded and, as he enters each
     manner where users of computing devices within the infor 35 Zone, his PDA is to automatically receive the latest, up-to
     mation sharing environment do not define the domain(s) or the-minute customer information maintained by his sales
     the events that occur as objects enter or leave the domains. office. For all but his last sales call he defines an object
     A predefined Zone may be a house, a room, a business location event for when he leaves the corresponding Zone to
     perimeter, or a predefined area within a much larger area. email his next sales call to let them know that he's en route
     One or more events involving the location of objects relative 40 to their business. The email sent when leaving his fourth call
     to the predefined Zone is predetermined. The user of the specifically mentions he'll be arriving in about one hour that
     computing devices in prior art shared information environ is to include a lunch break. He also defines an object location
     ment participates but does not otherwise control or manage event to email his wife letting her know the time when he
     the conveyance of information, which has all been prede leaves the Zone corresponding to his last sales call thus
     termined. For instance, an alarm condition may be set when 45 allowing her to better plan her evening.
     a person carries an object having a non-deactivated RFID            In accordance with the present invention, information
     tag into a predefined Zone about an exit to a store whereby packages can be associated with object location information,
     the alarm condition causes a recorded warning message to user-defined Zone information, and/or object location event
     play on a loudspeaker. A motion detector may detect a information where an information package may include a
     person walking through a predefined area near a building 50 picture, movie, audio file, document, and/or data file. The
     and turn on a light. Kiosks within a Zoo may interact with information packages may include sensor information
     individuals carrying tracking devices that enter predefined received from one or more sensors including those sensors
     areas about the kiosks. A Super mall, itself a domain, may be that measure a characteristic of a physical environment. Such
     subdivided into its tenant stores or even departments within as temperature, humidity, radioactivity, etc. and/or sensors
     stores, each a separate domain, and customers carrying 55 that measure physical characteristics, such as heart rate,
     tracking devices may be offered specials as they move about breathing rate, etc. At least one time stamp may be associ
     the mall.                                                        ated with an information package indicating the timing of
        The user-defined Zones of the present invention can be the information included in the package, for example, the
     defined by any user of the information sharing environment. times when pictures were taken or sensor measurements
     User-defined Zones can be used in conjunction with 60 were made. Under one arrangement, any user can associate
     domains. For example, three teenage girls, each carrying a an information package with object location information,
     Smartphone with a location information source, go to a mall user-defined Zone information, and/or object location event
     where each of the three girls is a member of the mall's information.
     interactive shopping club. As they enter the mall, their Smart      In accordance with the present invention, a user that
     phones automatically interface with the information sharing 65 associates an information package with object location
     environment available within the mall. Their phones load the information, user-defined Zone information, and/or object
     mall's map and begin to indicate their locations within the location event information can also associate an information




                                                                                                                                     Exhibit A
                                                                                                                                 Page 39 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 41 of 44




                                                        US 9,680,941 B2
                                    19                                                              20
     package access code with the information package and can only update the current location record. If TRACKING is set
     thereby manage the conveying of the information package to to ON, location packet are saved in individual records that
     one or more users. AS generally described above, an infor can be displayed as a Mapped Track on a user's PDA,
     mation package access code can specify individual users or Phone, or PC.
     groups allowed access to the information package, may                Current and prior user location information for one or
     specify a password a user must know to receive access to the more users can be conveyed to one or more users having
     information package, and/or may include a clearance clas access privileges to the user location information for display
     sification code. As such, the information package access on the one or more users’ computing device(s). The current
     code determines which user(s) are conveyed the information position of a given user is indicated by a black Square. As
     package.                                                       10 Such, as the user moves, black Squares indicate the current
        Generally, the present invention enables any user of a and past location of the user thereby showing the movement
     multiple user computing environment to define object loca or path of the user.
     tion events relating object location information to user             Zones comprise geographic boundaries. If the GPS
     defined Zones and to manage to conveyance of object receiver indicates a user's location passes over a Zone
     location event information based on user identification 15 boundary, an exit or entry alert is issued. A notification is
     codes. By also using access codes, multiple users can sent to one or more individuals as defined when the Zone is
     collaboratively define and manage events and manage the created. Different types of Zones can be created with each
     conveyance of corresponding object location information, Zone type causing different types of information to be
     user-defined Zone information, and/or object location event conveyed when a user's location enters, exits, and/or is
     information among computing devices. Moreover, the pres within a Zone. Codes associated with the Zones determine
     ent invention provides a system and method for generating which users receive location information. As such, the codes
     user-defined location aware applications. Described below associated with the Zones correspond to the Zone informa
     are four examples of Such user-defined location aware tion access codes and object location event information
     applications that are supported by the present invention.         access codes described generally above. Specifically, by
        Parole Officer Support                                      25 sharing the Phone number and Code other users can load
        Parolees have associated with them a location information      the Zone into their device and it will respond with alerts to
     Source. A parole officer can, on a case-by-case basis, identify the defined addressees thereby enabling group tracking and
     good locations and bad locations for parolees and define location management.
     object location events for entering Such good and bad                FIG. 8 illustrates an exemplary PDA Application Launch
     locations causing him to be notified of a given parolee 30 Screen 800 used to begin execution of the Location and
     visiting the locations.                                           Tracking software. Referring to FIG. 8, a PDA application
        Pet Tracking                                                   launch screen 800 typically includes various icons corre
        A pet has associated with it a location information source.    sponding to programs available for execution Such as the
     The pet owner defines Zones that the pet is Supposed to stay Location and Tracking software icon 802. When a user
     in (e.g., a yard) and may define Zones in which the pet is not 35 selects the Location and Tracking software icon 802, the
     allowed (e.g., a garden). An object location event for leaving Location and Tracking software is executed.
     the yard sends an email and phones the pet owner. An object          FIG. 9 illustrates an exemplary Main Screen 900 of the
     location event for entering the garden might cause a siren to     Location and Tracking software that appears when the
     go off to Scare the pet.                                          software is launched. The Main Screen 900 is the primary
        Child Tracking                                              40 screen from which additional screens of the software are
        A child has associated with it a location information          accessed via the buttons labeled Maps, Contacts, GPS,
     Source. A parent identifies Zones in the neighborhood where Config, Groups, Camera, and Buttons. Main Screen 900 is
     the child is allowed to play and explicitly not allowed to also the screen to which the user of the software is returned
     play. Object location events are defined where the parent is when closing screens associated with the buttons. The Exit
     emailed or otherwise notified as the child moves about the 45 button ends execution of the software and returns the user to
     neighborhood.                                                     the Application Launch Screen 800.
        Hiking                                                            FIG. 10 illustrates an exemplary Configuration Screen
        Several hikers have associated with them location infor        1000 of the Location and Tracking software used to manage
     mation sources. The hiking trail as indicated on a map information corresponding to the user of the PDA (or other
     includes user-defined Zones corresponding to key locations 50 computing device). The user of the program accesses the
     along the route. Object location events are defined such that Configuration Screen 1000 by selecting the Config button of
     each hiker receives an email on their Smartphone whenever the Main Screen 900. Configuration Screen 1000 provides
     another hiker enters or exits a Zone.                             fields for entering a user data access code, user phone
        The present invention is implemented by a Location and number, log file name, and a user domain or IP address. The
     Tracking Software that executes on PDAs, telephones, and 55 screen is also used to toggle logging on and off.
     personal computers. The Location and Tracking Software is            FIG. 11 illustrates an exemplary GPS Screen 1100 of the
     used for tracking the location of a user whereby user location Location and Tracking software used to manage a GPS
     information is conveyed to contacts based upon the location receiver that is associated with a user's PDA (or other
     of the user relative to one or more Zones defined by the user.    computing device) via a Bluetooth connection. GPS Screen
     As such, user location information described below corre 60 1100 includes fields for displaying and controlling GPS
     sponds to object location information generally described device settings, a button for turning the Bluetooth connec
     above.                                                            tion on and off, a button for turning the GPS device on and
        The Location and Tracking Software is typically used in off, and buttons for controlling whether real-time or simu
     the LOCATION mode. This means that a GPS connection is            lated GPS data is conveyed. GPS Screen 1100 also includes
     active and a polling rate is set to periodically send location 65 Setup button 1102 used to launch the Tracking Setup Screen.
     packets indicating the location of the user to a central             FIG.12a illustrates an exemplary Tracking Setup Screen
     database. If a user sets TRACKING to OFF, location packets        1200 of the Location and Tracking software used to control




                                                                                                                                     Exhibit A
                                                                                                                                 Page 40 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 42 of 44




                                                       US 9,680,941 B2
                                 21                                                               22
     the rate at which GPS information is polled, to examine GPS       buddy list containing the user name, phone number and
     information records, and to turn on or off the TRACKING          code for each buddy’. If a public Zone is available it can be
     mode. Tracking Setup Screen 1200 includes Files button selected and loaded into the user's device. Users share
     1202 that is used to launch Log File Selection Screen 1204 access codes in order to share Zones. As such, a user tells
     that is used to select a log file. A log file can be written to another user the access code needed to load a Zone.
     and then later read, as controlled by the Use button, to cause    FIG. 15 illustrates an exemplary Contact Screen 1500 of
     a play back of GPS information.                                 the Location and Tracking software used to manage infor
        FIG. 12b illustrates an exemplary Log File Selection mation corresponding to contacts (i.e., other users). The
     Screen 1204 of the Location and Tracking software used to Contact Screen 1500 allows the user to populate information
     select a log file for storing GPS information. Log File 10 corresponding to contacts such as name and address infor
     Selection Screen 1024 provides a typical Open dialog win mation.
     dow allowing a user to open a log file stored at any storage      FIG. 16 illustrates an exemplary Camera Screen 1600 of
     location to which the user (and the user's device) has access. the Location and Tracking software used to manage pictures
        FIG.13a illustrates an exemplary Map Screen 1300 of the      associated  with user location information. The Camera
     Location and Tracking software used to display a map 15 Screen 1600 is used to associate pictures and text with a user
     received from a map server. The Map Screen 1300 is used and to convey the picture information to other users. The
     to request and locate a map using the current latitude and pictures correspond to information packages described gen
     longitude of the user, to turn the TRACKING mode on or erally above, which could also include other forms of
     off to display/edit data location records, to create Zones, and information. The Camera Screen 1600 could alternatively be
     to size the map. These various functions are controlled via a Device Screen that controlled multiple devices including
     a row of buttons 1302 at the bottom of Map Screen 1300.         cameras, motion sensors, garage doors, web cams, etc. and
     The row of buttons 1302 is also displayed on the bottom of corresponding information as described previously. As
     Data Screen 1304, Zone Screen 1306, Size Screen 1308, and       described previously, picture or other information packages
     About Screen 1310.                                               can be associated with Zone information or event informa
        FIG. 13b illustrates an exemplary Data Screen 1304 of the 25 tion.
     Location and Tracking software used to manage conveyance           FIG. 17 illustrates an exemplary Big Buttons Screen 1700
     of tracking and Zone information to specific users based on of the Location and Tracking software used to provide easy
     access codes. It is accessed by selecting the Data button access to key application commands while walking or
     included in the row of buttons 1302 displayed on the bottom driving.
     of Data Screen 1304, Zone Screen 1306, Size Screen 1308, 30 FIG. 18 illustrates an exemplary Map Viewer Web Page
     and About Screen 1310. Specifically, Data Screen 1304 is         1800 used for displaying maps and other information con
     used to set access codes and to associate email addresses and    veyed by the Location and Tracking software.
     phone alerts with Zones.                                           FIG. 19 illustrates an exemplary Contact Viewer Web
        FIG. 13c illustrates an exemplary Zone Screen 1306 of the Page 1900 used for displaying contact information conveyed
     Location and Tracking Software used to define user-defined 35 by the Location and Tracking software.
     Zones. It is accessed by selecting the Zone button included        FIG. 20 illustrates an exemplary web page-based display
     in the row of buttons 1302 displayed on the bottom of Data of a map 2000 overlaid with GPS tracking and Zone infor
     Screen 1304, Zone Screen 1306, Size Screen 1308, and             mation conveyed by the Location and Tracking software. In
     About Screen 1310. The Zone Screen is used to define a           FIG. 20, balloon icons labeled alphabetically that indicate
     Zone and/or to load a Zone defined by another user. A user logged locations of a user for which information is available.
                                                                   40
     can use the Zone Screen to control whether Zone information      Also shown are two zones represented by rectangles. When
     is shared (i.e., made public) to other users and to control a given balloon is selected, information is displayed, for
     whether the TRACKING mode is on or off.                          example, as shown in the information box in the center of the
        FIG. 13d illustrates an exemplary Size Screen 1308 of the map corresponding to the balloon labeled F. Similarly,
     Location and Tracking software used to manage the size and 45 information is displayed corresponding to either of the Zones
     other characteristics of a displayed map. It is accessed by when either is selected.
     selecting the Size button included in the row of buttons 1302      FIG. 21 illustrates an exemplary web page for creation of
     displayed on the bottom of Data Screen 1304, Zone Screen Zones 2100 that can be used with the Location and Tracking
     1306, Size Screen 1308, and About Screen 1310. The Size          software. As shown in FIG. 21, a Zone is created by selecting
     Screen 1308 is used to set the scale (or Zoom) of the map, 50 a first point on a map indicated by a first balloon and
     to turn on or off the display of Zone boundaries, and to dragging to another point on a map indicated by a second
     control auto centering of maps.                                  balloon where the two points correspond to opposite corners
        FIG. 13e illustrates an exemplary About Screen 1310 of of a rectangle representing the user-defined Zone boundary.
     the Location and Tracking software used to provide a notice        FIG. 22 illustrates an exemplary map displayed on a web
     concerning Tracking Privacy Issues, Software version infor 55 page 2200 depicting logging of user location information
     mation, and copyright information. It is accessed by select while a user is within a Zone and logging of user location
     ing the About button included in the row of buttons 1302 information when a user enters or leaves a Zone. As depicted
     displayed on the bottom of Data Screen 1304, Zone Screen in FIG. 22, one type of Zone 2202 provides user location
     1306, Size Screen 1308, and About Screen 1310.                   information periodically while a user is within the Zone.
        The row of buttons 1302 displayed on the bottom of Data 60 Another type of Zone 2204 only provides user location
     Screen 1304, Zone Screen 1306, Size Screen 1308, and             information when the user enters or exits the Zone.
     About Screen 1310 also includes a Close button that when      FIG. 23 illustrates an exemplary map displayed on a web
     selected returns the user to the Main Screen 900.          page 2300 depicting a picture associated with a location of
        FIG. 14 illustrates an exemplary Group Screen 1400 of a user. As shown in FIG. 23, a balloon labeled F corresponds
     the Location and Tracking software used to manage infor 65 to a location of a user. An information package consisting of
     mation corresponding to groups of contacts. The Group a picture that has been associated with the user's location is
     Screen 1400 is used to add or remove users from a stored   available as part of the information displayed when the




                                                                                                                                    Exhibit A
                                                                                                                                Page 41 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 43 of 44




                                                           US 9,680,941 B2
                                   23                                                              24
     balloon is selected. In the information window is a thumb                  information regarding the group using the one or
     nail of the picture which when selected displays the fully                 more information access codes;
     enlarged picture.                                                        provide one or more interfaces configured to receive
        The Location and Tracking software described herein was                 information related to a Zone, an event, and an alert
     provided as a example of the types of applications that are                for the group;
     enabled by the present invention. While particular embodi                receive a request to set a Zone for the group, the Zone
     ments and several exemplary applications (or implementa                    having a boundary that is independent of where
     tions) of the invention have been described, it will be                     mobile devices are located;
     understood, however, that the invention is not limited                   receive a request to set an event for the group;
     thereto, since modifications may be made by those skilled in 10          receive a request to set an alert for the group, the
     the art, particularly in light of the foregoing teachings. It is,          request identifying a recipient of the alert;
     therefore, contemplated by the appended claims to cover any              store the group's Zone, event and alert in the one or
     Such modifications that incorporate those features or those                more databases;
     improvements which embody the spirit and scope of the                    receive identifiers and the location information for
     present invention.                                                15  mobile devices in the group;
       What is claimed is:                                               compare the identifiers and location information with
       1. A location tracking system comprising:                           the group’s Zone and event to determine whether to
       one or more servers capable of receiving identifiers and            send the group's alert;
          location information for a plurality of mobile devices         cause the group's alert to be sent; and
          having corresponding mobile device identification              convey the location information based on the one or
          codes that identify each mobile device:                          more information access codes specified for the
       the one or more servers configured to:                              group under said second level of administrative
          store in one or more databases information for groups            privilege.
            of users of mobile devices based on corresponding         2. The system of claim 1, the one or more servers
            group identification codes that identify each group, 25 configured to:
            each user in a group having a user identification code    receive information corresponding to a second Zone and a
            associated with a corresponding group identification         second event associated with a mobile object other than
             code in the one or more databases, the user identi               the mobile devices;
             fication code identifying the user, said groups being          receive a request to set the second Zone for the group;
             defined by a first administrator having a first level of 30    receive a request to set the second event for the group;
             administrative privilege, said first level of adminis          store the group's second Zone and second event in the one
             trative privilege being used to authorize a user in               or more databases; and
             each group to be a second administrator of a plurality         compare the location information for the mobile object
             of second administrators, each second administrator              with the second Zone and the second event to determine
             having a corresponding second level of administra 35             whether to send an alert associated with the second
             tive privilege associated with a group;                          Zone and the second event.
          store in the one or more databases information for the        3. The system of claim 1, where an information access
            plurality of second administrators, each second code specified for the group comprises a group identification
            administrator using the corresponding second level       code.
            of administrative privilege after a corresponding 40 4. The system of claim 3, where the information access
            group is defined by the first administrator to specify code specified for the group comprises an access list includ
            one or more information access codes, said one or        ing one or more user identification codes associated with the
            more information access codes specifying one or group identification code.
            more users in the corresponding group having access         5. The system of claim 4, where said access list further
             1) to location information and 2) to event informa 45 comprises a plurality of Sub-group identification codes, said
            tion other than location information, wherein the        Sub-group identification codes identifying corresponding
            location information corresponds to a coordinate of Sub-groups created within the group.
            a mobile device within a coordinate system corre            6. The system of claim 5, where the one or more servers
             sponding to a map as determined by the location control access to the one or more user interfaces for adding
            information source associated with the mobile 50 a mobile device to a Sub-group based on the Sub-group
            device; and wherein the event information comprises identification code, wherein said second level of adminis
            at least one of a condition that relates a mobile device trative privilege comprises a privilege to create the Sub
            location information to a Zone where the occurrence      group, specify the Sub-group identification code, and specify
            of the event causes an alert to be sent when a mobile    the users in the Sub-group.
            device crosses a boundary associated with the Zone, 55 7. The system of claim 1, where said first level of
            wherein the first administrator defines the corre        administrative privilege is associated with an location and
             sponding group independent of a location of a Zone; event (L&E) information service provider and said second
          control access to the location information and the event   level of administrative privileges are provided by the L&E
            information in order to protect the privacy of the information service provider to customers of the L&E
             location information and the event information based 60 information service, said mobile device identifications codes
            on the one or more information access codes;          being associated with vehicles in a plurality of vehicle
          check the first level of administrative privilege to groups under the second level of the administrative privi
            authorize the second administrator having a second leges, wherein each vehicle group comprises vehicles used
            level of administrative privilege to be associated by drivers associated with corresponding mobile object
            with the group;                                    65 identification codes under the second level of the adminis
          check the second level of administrative privilege to trative privileges, said mobile object identification codes
            control conveyance of the location and the event being different from the mobile device identification codes,




                                                                                                                                      Exhibit A
                                                                                                                                  Page 42 of 43
Case 1:23-mi-99999-UNA Document 124-1 Filed 01/13/23 Page 44 of 44




                                                        US 9,680,941 B2
                                   25                                                          26
     each mobile object identification code being associated with ing second ISE of a plurality of second ISEs created within
     a mobile object comprising an NFC device, wherein a the first ISE, said first and second ISEs comprising a
     second event associated with the mobile object that is computing network where the conveyance of the location
     different from the event is determined based on proximity of and the event information from a server to the groups is
     the driver to the vehicle as determined using the NFC 5 controlled or configured, wherein each second ISES is con
     device.                                                      figured to be administered independent of other second ISEs
        8. The system of claim 1, where the one or more servers and the first ISE using the one or more information access
     are further configured to:                                   codes.
        determine occurrence of a second event that is different
                                                                     13. The system of claim 1, where said one or more
           from the event, said second event being based on a 10 information
           condition associated with one or more mobile objects identificationaccess
                                                                                 codes
                                                                                      codes further comprise one or more user
                                                                                       and one or more sub-group identifica
           other the one or more mobile devices, wherein a mobile
           object identification code that is different from the tion codes associated with users in a Sub-group having
                                                                      access to the location and the event information.
          mobile device identification codes is associated with a
                                                                       14. The system of claim 1, where the location information
          mobile object, and wherein the occurrence of the event 15 Source
          and the second event is determined based on a mobile              comprises a proximity device, where location infor
          device identification code and the mobile object iden mation      is based on proximity of the mobile device to another
                                                                    device or to another object.
          tification code.
                                                                       15. The system of claim 14, where said proximity device
       9. The system of claim 8, where the one or more servers comprises
     are further configured to:                                                 a Bluetooth device.
       receive location information from the mobile device asso        16. The system of claim 14, where said another device or
          ciated with the mobile device identification code:        object comprises a mobile device.
                                                                       17. The system of claim 14, said another device or object
       receive location information from the mobile object asso comprises
          ciated with the mobile object identification code:                    a fixed device.
       determine occurrence of the event based on the location 25      18. The system of claim 1, where the location information
          information from the mobile device associated with the    of a mobile device is determined using an NFC device.
          mobile device identification code; and                      19. The system of claim 18, where said NFC device is
       determine occurrence of the second event based on the          associated with a driver of a vehicle.
           location information from the mobile object associated tion20.source
                                                                             The system of claim 1, where said location informa
                                                                                   provides outdoor location of a mobile device and
          with the mobile object identification code.              30
        10. The system of claim 9, where the location of the a second location information source other than the location
     mobile object is determined based on its proximity to the the    information source provides indoor location information of
     mobile device as determined by a proximity device associ              mobile device, wherein said location information com
     ated with the mobile object.                                     prises at least one of the outdoor location information or the
        11. The system of claim 1, where the one or more servers 35 indoor     location information.
                                                                         21. The system of claim 20, where identifiers comprise a
     are configured to further control access privileges to sensor
     information other than the location and the event informa        Zone identifier code identifying a Zone and an event identi
     tion based the on one or more information access codes.          fier identifying an event that cause the one or more servers
        12. The system of claim 1, where the first level of to 22.       send the alert.
                                                                              The system of claim 21, where identifiers further
     administrative privilege is used to administer a first infor 40 comprise     a sensor identifier.
     mation sharing environment (ISE) and the second level of
     administrative privilege is used to administer a correspond                               k   k   k k   k




                                                                                                                                     Exhibit A
                                                                                                                                 Page 43 of 43
